                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT GREENEVILLE

  UNITED STATES OF AMERICA                              )
                                                        )
  v.                                                    )               2:19-CR-14
                                                        )
  XIAORONG YOU,                                         )
    aka SHANNON YOU                                     )


                                FINAL ORDER OF FORFEITURE
         On August 4, 2020, a Superseding Indictment [Doc. 217] was filed charging the defendant,

  XIAORONG YOU, with conspiracy to commit theft of trade secrets, in violation of Title 18,

  United States Code, Section 1832(a)(5) (Count One); theft of trade secrets, in violation of Title 18,

  United States Code, Section 1832(a)(3) (Counts Two through Eight); wire fraud, in violation of

  Title 18, United States Code, Section 1343 (Count Nine); conspiracy to commit economic

  espionage, in violation of Title 18, United States Code, Section 1831(a)(5) (Count Ten); and

  economic espionage, in violation of Title 18, United States Code, Section 1831(a)(3) (Count

  Eleven).

         In the forfeiture allegations of the Superseding Indictment, the United States sought

  forfeiture pursuant to Title 18, United States Code, Section 2323(b), of the interest of the defendant

  in any property used, or intended to be used, in any manner or part to facilitate the commission of

  such offenses and any property constituting or derived from any proceeds obtained directly or

  indirectly as a result of the commission of the offenses of Title 18, United States Code, Sections

  1831 and 1832, and pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

  United States Code, Section 2461(c), in any property, real or personal, which constitutes or is

  derived from proceeds traceable to the violation of Title 18, United States Code, Section 1343, as




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  set forth in the Superseding Indictment. The property to be forfeited includes, but is not limited to

  the following:

                   a.    Western Digital External Hard Drive SN# WXD1A20H8933; and

                   b.    Western Digital External Hard           Drive    SN#    WX11AC7RTNUV.
                         (collectively “the hard drives”).

         On April 22, 2021, after trial, a duly empaneled jury returned a guilty verdict against the

  defendant, XIAORONG YOU, for violations of Title 18, United States Code, Sections 1343,

  1831(a)(3), 1831(a)(5), 1832(a)(3), and 1832(a)(5). [Doc. 301].

         On November 30, 2021, pursuant to the guilty verdict, this Court entered a Preliminary

  Order of Forfeiture [Doc. 389] forfeiting to the United States the interest of defendant in and to

  the properties identified above pursuant 18 United States Code, Section 2323(b).

         Pursuant to Title 21, United States Code, Section 853, as incorporated by Title 18, United

  States Code, Section 2323(b)(2), the Preliminary Order of Forfeiture, and Notice of Forfeiture, the

  hard drives described above were published on an official Government internet site

  (www.forfeiture.gov) for at least 30 consecutive days, beginning on December 6, 2021, and ending

  on January 4, 2022. A Declaration of Publication [Doc. 414] was filed with the Clerk of this Court

  on March 2, 2022.

         The Notice of Forfeiture advised that any person, other than the defendant, having or

  claiming a legal interest in the properties described above, was required to file a petition with the

  Court within sixty (60) days of the first date of publication of this Notice on the official

  Government internet web site, pursuant to Federal Rule of Criminal Procedure 32.2, and Title 21,

  United States Code, Section 853(n)(2). The Notice further provided that the petition was to be

  filed with the Clerk of the Court. It further required that the petition be signed by the petitioner

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  under penalty of perjury and set forth the nature and extent of the petitioner’s right, title, or interest

  in the property and any additional facts supporting the petitioner’s claim and the relief sought.

          Defendant, XIAORONG YOU, was sentenced on May 9, 2022, and this Court entered a

  Judgment [Doc. 422] against the defendant on May 13, 2022. The Judgment states the defendant

  shall forfeit her interest in the property as set forth in the Preliminary Order of Forfeiture [Doc.

  389] entered November 30, 2022.

          It is therefore, ORDERED, ADJUDGED, and DECREED:

          1.      That the following properties are hereby forfeited to the United States pursuant to

  Title 18, United States Code, Section 2323(b) and Federal Rule of Criminal Procedure 32.2(b),

  and all right, title, and interest in the properties are hereby vested in the United States:

                  a.      Western Digital External Hard Drive SN# WXD1A20H8933; and

                  b.      Western Digital External Hard Drive SN# WX11AC7RTNUV.

          2.      The Federal Bureau of Investigation or its designated agency shall dispose of the

  forfeited property according to law.

          3.      The Court shall retain jurisdiction to enforce this Order, and to amend it as

  necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

          4.      The Clerk of this Court shall provide a certified copy of this Order to the United

  States Attorney’s Office.

          ENTER:



                                                                      s/J. RONNIE GREER
                                                             UNITED STATES DISTRICT JUDGE




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